         Case 4:23-cv-04065 Document 1-4 Filed on 10/25/23 in TXSD Page 1 of 1




Reg. No. 5,313,882         Pride Houston, Inc. (TEXAS CORPORATION)
                           P. O. Box 541713
Registered Oct. 17, 2017   Houston, TEXAS 77254

                           CLASS 35: promoting public awareness of the need for diversity and equal rights in our
Int. Cl.: 35               community as well as to commemorate and celebrate the history of the gay and lesbian
                           community
Service Mark
                           FIRST USE 4-25-2015; IN COMMERCE 4-25-2015
Supplemental Register
                           THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
                           PARTICULAR FONT STYLE, SIZE OR COLOR

                           No claim is made to the exclusive right to use the following apart from the mark as shown:
                           "PRIDE FESTIVAL"

                           SER. NO. 87-034,196, FILED P.R. 05-12-2016; AM. S.R. 08-22-2017




                                                                                                     Exhibit 3
